Case 2:20-cv-02512-SHK Document 23 Filed 11/05/20 Page 1 of 1 Page ID #:1595



  1
  2
  3
  4
  5
  6
  7
  8                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
  9
 10   STEPHANIE DIANE JORDAN,                 )   Case No.: 2:20-cv-02512-SHK
                                              )
 11               Plaintiff,                  )   {PROPOSED} AMENDED ORDER
                                              )   AWARDING EQUAL ACCESS TO
 12         vs.                               )   JUSTICE ACT ATTORNEY FEES
                                              )   AND EXPENSES PURSUANT TO 28
 13   ANDREW SAUL,                            )   U.S.C. § 2412(d) AND COSTS
      Commissioner of Social Security,        )   PURSUANT TO 28 U.S.C. § 1920
 14                                           )
                  Defendant                   )
 15                                           )
                                              )
 16
 17         Based upon the parties’ Amended Stipulation for the Award and Payment of

 18   Equal Access to Justice Act Fees, Costs, and Expenses:

 19         IT IS ORDERED that fees and expenses in the amount of $2,600.00 as

 20   authorized by 28 U.S.C. § 2412, and costs in the amount of $400.00 as authorized

 21   by 28 U.S.C. § 1920, be awarded subject to the terms of the Amended Stipulation.

 22   The order issued on October 27, 2020 is set aside.

 23   DATE: 11/5/2020

 24                            ___________________________________
                               THE HONORABLE SHASHI KEWALRAMANI
 25                            UNITED STATES MAGISTRATE JUDGE

 26

                                              -1-
